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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11     TRAVIS O. FOSTER,                )   Case No. CV 15-7413-GW (JPR)
                                        )
12                       Petitioner,    )
                                        )   ORDER ACCEPTING FINDINGS AND
13                  v.                  )   RECOMMENDATIONS OF U.S.
                                        )   MAGISTRATE JUDGE
14     DEBBIE ASUNCION, Warden,         )
                                        )
15                       Respondent.    )
                                        )
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17          The Court has reviewed the Petition, records on file, and

18    Report and Recommendation of U.S. Magistrate Judge.           After the

19    Magistrate Judge granted Petitioner’s ninth request for an

20    enlargement of time to file objections to the R. & R., his

21    objections were due on September 29, 2020.          No objections to the

22    R. & R. or another enlargement request has been filed.

23          The Court accepts the findings and recommendations of the

24    Magistrate Judge.     IT THEREFORE IS ORDERED that the Petition is

25    denied and Judgment be entered dismissing this action with

26    prejudice.

27
28    DATED: September 29, 2021
                                            GEORGE H. WU
                                            U.S. DISTRICT JUDGE
